

People v Jones (2023 NY Slip Op 01486)





People v Jones


2023 NY Slip Op 01486


Decided on March 21, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 21, 2023

Before: Manzanet-Daniels, J.P., Singh, Kennedy, Shulman, JJ. 


Ind. No. 3243/17 Appeal No. 17559 Case No. 2018-04139 

[*1]The People of The State of New York, Respondent, 
vCharles Jones, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Dina Zloczower of counsel), and Cleary Gottlieb Steen &amp; Hamilton LLP, New York (Nathalie Alegre of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Robert Butlien of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Diane Kiesel, J.), rendered June 26, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 21, 2023
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








